Case 1:03-cv-01021-.]DT-STA Document 54 Filed 07/13/05 Page 1 of 3 Page|D 50

 

IN THE UNITED STATES DISTRICT COURT /Y@@./ y
FoR THE WEsTERN DisTRiCT oF TENNESSEE @a%, " ‘ , `
EASTERN DIVIsIoN "<’ 43 f ,.Q§
a ay 3 '
/W "?é_. ` hud/§
RANDY oLIVER and JAMEs FUTRELL, 45 O/r//
on behalf of themselves and all others ‘/LC§FQ}/
W

similarly situated,
Plaintiffs,
VS. No. 1-03-102]-T

CITY OF JACKSON, TENNESSEE,

Defendant.

 

ORDER MODIFYING CONSENT DECREE

 

Defendant City of Jackson, Tennessee, filed this motion for modification of the
court’s consent decree, entered on February l, 2005. Specifically, Defendant requests that
the deadlines set forth in paragraphs two (2), three (3), and four (4) of the consent decree be
extended by thirty (3 0) days until August 26, 2005. Defendant argues that the extension is
needed because two Witnesses Will be on medical leave; thus, Defendant needs more time
to complete the work necessary to meet the set deadlines Plaintiffs do not object to
Defendant’s request Because Plaintiffs do not object, Defendant’s motion to modify the
court’s February lSt consent decree is GRANTED. Defendant has an additional thirty (3 O)

days, until August 26, 2005, to meet the deadlines set forth in paragraphs two (2), three (3),

Thls document entered on the dockets ln compliance
with Rule 58 and.'or,?B (a) FHCP orl w

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and four (4) of the consent decree.

IT IS SO ORDERED.

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Ur%n;s D. ToDD
iTED s'rATEs DisrRiCT JUDGE

/3’ MMJ

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 1:03-CV-01021 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

ESSEE

 

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Honorable .1 ames Todd
US DISTRICT COURT

